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                     IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF DELAWARE


 In re:
 RTI HOLDING COMPANY, LLC,                         Chapter 11
                   Debtor.                         Case No. 20-12456 (JTD)
                                                   Ref. Docket No. 2

 In re:
 RUBY TUESDAY, INC.,                               Chapter 11
                                                   Case No. 20-12457 (JTD)
                   Debtor.
 In re:
 RUBY TUESDAY, LLC,                                Chapter 11
                   Debtor.                         Case No. 20-12458 (JTD)

 In re:
 RTBD, LLC,                                        Chapter 11
                                                   Case No. 20-12461 (JTD)
                  Debtor.
 In re:
 RT OF CARROLL COUNTY, LLC,                        Chapter 11
                                                   Case No. 20-12462 (JTD)
                   Debtor.
 In re:
 RT DENVER FRANCHISE, LP,                          Chapter 11
                                                   Case No. 20-12465 (JTD)
                   Debtor.
 In re:
 RT DETROIT FRANCHISE, LLC,                        Chapter 11
                                                   Case No. 20-12468 (JTD)
                   Debtor.
 In re:
 RT DISTRIBUTING, LLC,                             Chapter 11
                   Debtor.                         Case No. 20-12471 (JTD)



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 In re:
 RT FINANCE, LLC,                                  Chapter 11
                                                   Case No. 20-12473 (JTD)
                   Debtor.
 In re:
 RT FL GIFT CARDS, INC.,                           Chapter 11
                                                   Case No. 20-12476 (JTD)
                   Debtor.
 In re:
 RT FLORIDA EQUITY, LLC,                           Chapter 11
                                                   Case No. 20-12480 (JTD)
                   Debtor.
 In re:
 RT FRANCHISE ACQUISITION, LLC,                    Chapter 11
                                                   Case No. 20-12484 (JTD)
                   Debtor.
 In re:
 RT OF FRUITLAND, INC.,                            Chapter 11
                                                   Case No. 20-12487 (JTD)
                   Debtor.
 In re:
 RT INDIANAPOLIS FRANCHISE, LLC,                   Chapter 11
                                                   Case No. 20-12492 (JTD)
                   Debtor.
 In re:
 RT JONESBORO CLUB,                                Chapter 11
                                                   Case No. 20-12495 (JTD)
                   Debtor.
 In re:
 RT KCMO FRANCHISE, LLC,                           Chapter 11
                                                   Case No. 20-12500 (JTD)
                   Debtor.
 In re:
 RT KENTUCKY RESTAURANT HOLDINGS,                  Chapter 11
 LLC,                                              Case No. 20-12503 (JTD)
                   Debtor.



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 In re:
 RT LAS VEGAS FRANCHISE, LLC,                      Chapter 11
                                                   Case No. 20-12460 (JTD)
                   Debtor.

 In re:
 RT LONG ISLAND FRANCHISE, LLC,                    Chapter 11
                                                   Case No. 20-12464 (JTD)
                   Debtor.
 In re:
 RT OF MARYLAND, LLC,                              Chapter 11
                                                   Case No. 20-12489 (JTD)
                   Debtor.
 In re:
 RT MICHIANA FRANCHISE, LLC,                       Chapter 11
                                                   Case No. 20-12466 (JTD)
                   Debtor.
 In re:
 RT MICHIGAN FRANCHISE, LLC,                       Chapter 11
                                                   Case No. 20-12470 (JTD)
                   Debtor.
 In re:
 RT MINNEAPOLIS FRANCHISE, LLC,                    Chapter 11
                                                   Case No. 20-12474 (JTD)
                   Debtor.
 In re:
 RT MINNEAPOLIS HOLDINGS, LLC,                     Chapter 11
                                                   Case No. 20-12477 (JTD)
                   Debtor.
 In re:
 RT NEW ENGLAND FRANCHISE, LLC,                    Chapter 11
                                                   Case No. 20-12479 (JTD)
                   Debtor.
 In re:
 RT NEW HAMPSHIRE RESTAURANT                       Chapter 11
 HOLDINGS, LLC,                                    Case No. 20-12482 (JTD)
                   Debtor.



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 In re:
 RT NEW YORK FRANCHISE, LLC,                       Chapter 11
                                                   Case No. 20-12485 (JTD)
                   Debtor.
 In re:
 RT OMAHA FRANCHISE, LLC,                          Chapter 11
                                                   Case No. 20-12490 (JTD)
                   Debtor.
 In re:
 RT OMAHA HOLDINGS, LLC,                           Chapter 11
                                                   Case No. 20-12493 (JTD)
                   Debtor.
 In re:
 RT ONE PERCENT HOLDINGS, LLC,                     Chapter 11
                                                   Case No. 20-12498 (JTD)
                   Debtor.
 In re:
 RT ONE PERCENT HOLDINGS II, LLC,                  Chapter 11
                                                   Case No. 20-12496 (JTD)
                   Debtor.
 In re:
 RT ORLANDO FRANCHISE, LP,                         Chapter 11
                                                   Case No. 20-12502 (JTD)
                   Debtor.
 In re:
 RT RESTAURANT SERVICES, LLC,                      Chapter 11
                   Debtor.                         Case No. 20-12505 (JTD)

 In re:
 RT SOUTH FLORIDA FRANCHISE, LP,                   Chapter 11
                                                   Case No. 20-12506 (JTD)
                   Debtor.

 In re:
 RT SOUTHWEST FRANCHISE, LLC,                      Chapter 11
                                                   Case No. 20-12459 (JTD)
                   Debtor.



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 In re:
 RT ST. LOUIS FRANCHISE, LLC,                      Chapter 11
                                                   Case No. 20-12463 (JTD)
                   Debtor.
 In re:
 RT TAMPA FRANCHISE, LP,                           Chapter 11
                                                   Case No. 20-12467 (JTD)
                   Debtor.
 In re:
 RE WESTERN MISSOURI FRANCHISE, LLC,               Chapter 11
                                                   Case No. 20-12472 (JTD)
                   Debtor.
 In re:
 RT WEST PALM BEACH FRANCHISE, LP,                 Chapter 11
                                                   Case No. 20-12469 (JTD)
                   Debtor.
 In re:
 RTTA, LP,                                         Chapter 11
                                                   Case No. 20-12478 (JTD)
                   Debtor.
 In re:
 RTT TEXAS, INC.,                                  Chapter 11
                                                   Case No. 20-12475 (JTD)
                   Debtor.
 In re:
 RTTT, LLC,                                        Chapter 11
                                                   Case No. 20-12481 (JTD)
                   Debtor.

 In re:
 RUBY TUESDAY OF ALLEGANY COUNTY,                  Chapter 11
 INC.,                                             Case No. 20-12483 (JTD)
                   Debtor.
 In re:
 RUBY TUESDAY OF BRYANT, INC.,                     Chapter 11
                                                   Case No. 20-12486 (JTD)
                   Debtor.


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    In re:
    RUBY TUESDAY OF COLUMBIA, INC.,                                 Chapter 11
                                                                    Case No. 20-12488 (JTD)
                     Debtor.
    In re:
    RUBY TUESDAY OF FREDERICK, INC.,                                Chapter 11
                                                                    Case No. 20-12491 (JTD)
                     Debtor.
    In re:
    RUBY TUESDAY OF LINTHICUM, INC.,                                Chapter 11
                                                                    Case No. 20-12494 (JTD)
                     Debtor.
    In re:
    RUBY TUESDAY OF MARLEY STATION, INC., Chapter 11
                                                                    Case No. 20-12497 (JTD)
                     Debtor.

    In re:
    RUBY TUESDAY OF POCOMOKE CITY, INC.,                            Chapter 11
                                                                    Case No. 20-12499 (JTD)
                     Debtor.
    In re:
    RUBY TUESDAY OF RUSSELLVILLE, INC.,                             Chapter 11
                                                                    Case No. 20-12501 (JTD)
                     Debtor.
    In re:
    RUBY TUESDAY OF SALISBURY, INC.,                                Chapter 11
                                                                    Case No. 20-12504 (JTD)
                     Debtor.


             ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

             Upon the Debtors’ motion (the “Motion”)1 for entry of an order (this “Order”) directing

the Debtors’ chapter 11 cases to be jointly administered for procedural purposes only and

granting related relief, all as more fully set forth in the Motion; and due and sufficient notice of


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    Capitalized terms used but not defined in this Order have the meanings used in the Motion.
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the Motion having been provided under the particular circumstances, and it appearing that no

other or further notice need be provided; and the Court having jurisdiction to consider the

Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334; and

consideration of the Motion and the relief requested therein being a core proceeding under 28

U.S.C. § 157(b)(2); and this Court’s entry of a final order being consistent with Article III of the

United States Constitution; and venue being proper before this Court under 28 U.S.C. §§ 1408

and 1409; and a hearing having been held to consider the relief requested in the Motion (the

“Hearing”); and upon the First Day Declaration and the record of the Hearing and all the

proceedings had before the Court; and the Court having found and determined the relief

requested in the Motion to be in the best interests of the Debtors, their estates and creditors, and

any parties in interest; and the legal and factual bases set forth in the Motion and at the Hearing

having established just cause for the relief granted herein; and after due deliberation thereon and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

         1.      The Motion is GRANTED as set forth herein.

         2.      Each of the above-captioned chapter 11 cases of the Debtors are consolidated for

procedural purposes only and shall be jointly administered by the Court under Case No. 20-

12456.

         3.      Nothing contained in the Motion or this Order is to be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.




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             4.    The caption of the jointly administered cases shall read as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    RTI Holding Company, LLC, et al.,1                         Case No. 20-12456 (JTD)

                                              Debtors.         Jointly Administered

       1 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification
    number are as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC
    (1391); RTBD, LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit
    Franchise, LLC (8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189);
    RT Florida Equity, LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT
    Indianapolis Franchise, LLC (6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky
    Restaurant Holdings, LLC (7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072);
    RT of Maryland, LLC (7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT
    Minneapolis Franchise, LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC
    (4970); RT New Hampshire Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha
    Franchise, LLC (7442); RT Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One
    Percent Holdings II, LLC (2817); RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT
    South Florida Franchise, LP (3535); RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010);
    RT Tampa Franchise, LP (5290); RT Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise,
    LP (0359); RTTA, LP (0035); RTT Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County,
    Inc. (8011); Ruby Tuesday of Bryant, Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of
    Frederick, Inc. (4249); Ruby Tuesday of Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641);
    Ruby Tuesday of Pocomoke City, Inc. (0472); Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of
    Salisbury, Inc. (5432). The Debtors’ mailing address is 333 East Broadway Ave., Maryville, TN 37804.
.

             5.    All pleadings and notices shall be captioned as indicated in the preceding decretal

paragraph including a listing the Debtors in these chapter 11 cases and the last four numbers of

their tax identification numbers along with the address of the Debtors’ corporate headquarters

only and all original docket entries shall be made in the case of RTI Holding Company, LLC,

Case No. 20-12456.

             6.    A docket entry shall be made in each of the Debtors’ cases (except that of RTI

Holding Company, LLC) substantially similar to the following:

                   An order has been entered in this case consolidating this case with
                   the case of RTI Holding Company, LLC (Case No. 20-12456) for
                   procedural purposes only and providing for its joint administration

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                  in accordance with the terms thereof. The docket in Case No. 20-
                  12456 should be consulted for all matters affecting this case.

        7.        The terms and conditions of this Order are immediately effective and enforceable

upon its entry.

        8.        The Debtors are authorized and empowered to take all actions necessary or

appropriate to implement the relief granted in this Order.

        9.        This Court retains jurisdiction over all matters arising from or related to the

implementation or interpretation of this Order.




                                                          JOHN T. DORSEY
         Dated: October 8th, 2020                         UNITED STATES BANKRUPTCY JUDGE
         Wilmington, Delaware

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